

Matter of Peterson (2020 NY Slip Op 02528)





Matter of Peterson


2020 NY Slip Op 02528


Decided on April 30, 2020


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 30, 2020

PM-71-20

[*1]In the Matter of Woody N. Peterson, an Attorney. (Attorney Registration No. 5521125.)

Calendar Date: April 27, 2020

Before: Garry, P.J., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ.


Woody N. Peterson, Washington, DC, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
Woody N. Peterson was admitted to practice by this Court in 2017 and lists a business address in Washington, DC with the Office of Court Administration. Peterson has applied to this Court, by affidavit sworn to November 20, 2019, for leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) opposes the application, contending that Peterson omitted certain material responses in his affidavit submitted as part of his application to resign and, therefore, his affidavit was not in the proper form prescribed by Rules for Attorney Disciplinary Matters (22 NYCRR) § 1240.22 (a) (1) (see Rules for Attorney Disciplinary Matters [22 NYCRR] part 1240, appendix E).	
In reply to AGC's opposition, however, Peterson has submitted a supplemental correspondence dated April 22, 2020, in which he corrects the omissions from his prior submission (see Matter of Friedman, 161 AD3d 1480, 1481 [2018]). Accordingly, with AGC voicing no other substantive objection to his application, and having determined that Peterson is now eligible to resign for nondisciplinary reasons, we grant the application and accept his resignation.
Garry, P.J., Clark, Aarons, Pritzker and Reynolds Fitzgerald, JJ., concur.
ORDERED that Woody N. Peterson's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Woody N. Peterson's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Woody N. Peterson is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Peterson is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Woody N. Peterson shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








